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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on September 30, 2023




                                                                                                  Laurel M Isicoff
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 20−23995−LMI
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Perfection Body Shop and Paint, Inc
10764 SW 188 St
Miami, FL 33157

EIN: 47−3292745




                                                              FINAL DECREE



The trustee, Drew M Dillworth, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
